Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1893 Filed 07/28/23 Page 1 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


ARLEEN KOSAK, individually and
on behalf of others similarly situated,

                   Plaintiff,
                                             Case No. 2:22-cv-11850
              v.
                                             Hon. Matthew F. Leitman
NEW YORK MEDIA HOLDINGS,
                                             Magistrate Judge Elizabeth A.
LLC,
                                             Stafford
                   Defendant.


            DEFENDANT NEW YORK MEDIA HOLDINGS, LLC’S
                MOTION FOR LEAVE TO FILE RESPONSE
              TO NOTICE OF SUPPLEMENTAL AUTHORITY

      Defendant New York Media Holdings, LLC (“NYMH”) respectfully moves

the Court for leave to file a response to Plaintiff’s Notice of Supplemental Authority

(the “Notice”), filed July 27, 2023 (ECF No. 27).

      1.     In her Notice, Plaintiff encloses Gottsleben v. Informa Media, Inc., No.

1:22-cv-866 (W.D. Mich. July 7, 2023) and Schreiber v. Mayo Foundation for

Medical Education and Research, No. 2:22-cv-188 (W.D. Mich. July 13, 2023) and

implies that this Court should find the holdings in these actions persuasive here.

       2.    In view of Plaintiff’s arguments that the allegations in Gottsleben and

Schreiber are similar to those alleged here, Plaintiff would be given an unfair

advantage if NYMH was not permitted to provide an answer. NYMH respectfully
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1894 Filed 07/28/23 Page 2 of 8




seeks leave to submit a response to Plaintiff’s Notice. The proposed Response to

Notice of Supplemental Authority is attached hereto as Exhibit A.

      3.    Pursuant to Local Rule 7.1(a), Defendant’s counsel certifies that on July

28, 2023, they communicated with Plaintiff’s counsel, explaining the nature of the

relief sought in this Motion and seeking concurrence in that relief. Plaintiff had not

responded at the time of filing.

Dated: July 28, 2023                    Respectfully submitted,


                                        /s/ Kristen C. Rodriguez
                                        Kristen C. Rodriguez
                                        Deborah H. Renner
                                        DENTONS US LLP
                                        1221 Avenue of the Americas
                                        New York, New York 10020
                                        (212) 768-6700
                                        kristen.rodriguez@dentons.com
                                        deborah.renner@dentons.com

                                        Peter B. Kupelian (P31812)
                                        Carol G. Schley (P51301)
                                        CLARK HILL PLC
                                        151 South Old Woodward Ave., Suite 200
                                        Birmingham, MI 48009
                                        (248) 530-6336
                                        pkupelian@clarkhill.com
                                        cschley@clarkhill.com

                                        Counsel for Defendant
                                        New York Media Holdings, LLC




                                          2
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1895 Filed 07/28/23 Page 3 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

ARLEEN KOSAK, individually and
on behalf of others similarly situated,

                   Plaintiff,
                                          Case No. 2:22-cv-11850
              v.
                                          Hon. Matthew F. Leitman
NEW YORK MEDIA HOLDINGS,
                                          Magistrate Judge Elizabeth A.
LLC,
                                          Stafford
                   Defendant.



                  BRIEF IN SUPPORT OF DEFENDANT
                 NEW YORK MEDIA HOLDINGS, LLC’S
                MOTION FOR LEAVE TO FILE RESPONSE
              TO NOTICE OF SUPPLEMENTAL AUTHORITY
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1896 Filed 07/28/23 Page 4 of 8




                  STATEMENT OF ISSUES PRESENTED


1.    Whether NYMH should be granted leave to file a response to Plaintiff’s
      arguments in her Notice of Supplemental Authority?

      Defendant’s Answer: Yes.




                                      i
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1897 Filed 07/28/23 Page 5 of 8




STATEMENT OF CONTROLLING/MOST APPROPRIATE AUTHORITY

The controlling and most appropriate authority for this Motion includes:

      1.    United States v. Van, No. 06-20491, 2021 WL 4962139 (E.D. Mich.
            Oct. 26, 2021).

      2.    Tokarczyk v. A.G. Edwards & Sons, Inc., No. 08-12481, 2009 WL
            1025392 (E.D. Mich. Apr. 15, 2009).

      3.    Gottsleben v. Informa Media, Inc., No. 1:22-cv-866, ECF No. 51 (W.D.
            Mich. July 7, 2023).

      4.    Schreiber v. Mayo Found. for Med. Educ. and Res., No. 2:22-cv-188,
            ECF No. 45 (W.D. Mich. July 13, 2023).




                                         ii
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1898 Filed 07/28/23 Page 6 of 8




      Defendant New York Media Holdings, LLC (“NYMH”) respectfully seeks

leave to submit a response to Plaintiff’s Notice of Supplemental Authority (the

“Notice”), filed July 27, 2023 (ECF No. 27).

                                   ARGUMENT

      In her Notice, Plaintiff encloses and implies that the Court should follow two

recent decisions: Gottsleben v. Informa Media, Inc., No. 1:22-cv-866, ECF No. 51

(W.D. Mich. July 7, 2023); and Schreiber v. Mayo Foundation for Medical

Education and Research, No. 2:22-cv-188, ECF No. 45 (W.D. Mich. July 13, 2023).

      Plaintiff claims the allegations in Gottsleben and Schreiber are “similar to

Plaintiff’s allegations here” (PageID.1866), suggesting that the Court should find the

holdings in those cases persuasive. This baseless assertion, if left unanswered, would

provide Plaintiff an unfair advantage. Defendant respectfully seeks leave to submit

a response to Plaintiff’s Notice. See, e.g., Tokarczyk v. A.G. Edwards & Sons, Inc.,

No. 08-12481, 2009 WL 1025392, at *1 n.1 (E.D. Mich. Apr. 15, 2009) (denying a

motion to strike a response and notice of supplemental authority but granting the

opportunity to file a supplemental pleading to address newly raised arguments and

caselaw); United States v. Van, No. 06-20491, 2021 WL 4962139, at *2 (E.D. Mich.

Oct. 26, 2021) (allowing defendant to file a response to a notice of supplemental

authority concerning an opinion entered after briefing to argue new opinion was

wrongly decided); Smith v. Stellar Recovery, Inc., No. 15-cv-11717, 2017 WL
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1899 Filed 07/28/23 Page 7 of 8




1336075, at *8 (E.D. Mich. Feb. 7, 2017) (allowing defendant to respond to

plaintiff’s notice of supplemental authority). The proposed Response to Notice of

Supplemental Authority is attached hereto as Exhibit A.

                                  CONCLUSION

      For the foregoing reasons, NYMH respectfully requests that it be granted

leave to file a response to Plaintiff’s Notice of Supplemental Authority.

Dated: July 28, 2023                    Respectfully submitted,


                                         /s/ Kristen C. Rodriguez
                                         Kristen C. Rodriguez
                                         Deborah H. Renner
                                         DENTONS US LLP
                                         1221 Avenue of the Americas
                                         New York, New York 10020
                                         (212) 768-6700
                                         kristen.rodriguez@dentons.com
                                         deborah.renner@dentons.com

                                         Peter B. Kupelian (P31812)
                                         Carol G. Schley (P51301)
                                         CLARK HILL PLC
                                         151 South Old Woodward Ave., Suite 200
                                         Birmingham, MI 48009
                                         (248) 530-6336
                                         pkupelian@clarkhill.com
                                         cschley@clarkhill.com

                                         Counsel for Defendant
                                         New York Media Holdings, LLC




                                          2
Case 2:22-cv-11850-MFL-EAS ECF No. 28, PageID.1900 Filed 07/28/23 Page 8 of 8




                               Certificate of Service

      I hereby certify that on July 28, 2023, a copy of the foregoing document was

filed electronically and served by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing.

                                        /s/ Kristen C. Rodriguez
                                        Kristen C. Rodriguez
